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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

CARRIE FAY DRAKE,                        )
                                         )
       Plaintiff,                        )
                                         )
v.                                       ) CASE NO. 2:24-CV-699-WKW
                                         )
ELMORE COUNTY JAIL,                      )
                                         )
       Defendant.                        )

                                    ORDER

       Before the court is the Recommendation of the Magistrate Judge entered on

January 10, 2025. (Doc. # 7.) There being no timely objections filed to the

Recommendation, and after an independent review of the record, it is ORDERED as

follows:

       (1) The Recommendation is ADOPTED; and

       (2) This action is DISMISSED without prejudice.

Final Judgment will be entered separately.

       DONE this 4th day of February, 2025.

                                           /s/ W. Keith Watkins
                                      UNITED STATES DISTRICT JUDGE
